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   SHIRLEY HILL and MICHAEL HILL




   JOHNSON & JOHNSON, ET AL




                        SHORT FORM COMPLAINT
                           AND JURY DEMAND
         The Plaintiff(s) named below file(s) this Short Form Complaint and

   Demand for Jury Trial against Defendants named below by and through the

   undersigned counsel. Plaintiff(s) incorporate(s) by reference the allegations

   contained in Plaintiffs’ Master Long Form Complaint in In re: Talcum

   Powder Products Marketing, Sales Practices, and Products Liability

   Litigation, MDL No. 2738 in the United States District Court for the District

   of New Jersey. Plaintiff(s) file(s) this Short Form Complaint as permitted by

   Case Management Order No. 1 of this Court.

         In addition to those causes of action contained in Plaintiffs’ Master

   Long Form Complaint, where certain claims require specific pleadings and/or

   amendments, Plaintiff(s) shall add and include them herein.




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                             IDENTIFICATION OF PARTIES

   Identification of Plaintiff(s)

   1.         Name of individual injured due to the use of talcum powder product(s):
        SHIRLEY HILL
                                                                                           .

   2.        At the time of the filing of the specific case, Plaintiff(s) is/are a citizen of
        OK
                                                                                           .   ..




   3.         Consortium Claim(s): The following individual(s) allege damages for
                             MICHAEL HILL
   loss of consortium:



   4.         Survival and/or Wrongful Death Claims:

                 Name and residence of Decedent Plaintiff when she suffered the
                                                     N/A
   talcum powder product(s) related death:




                                                 01/13/1957
   5.         Plaintiff/Decedent was born on                                and died on
    N/A
                                                                                           .


   6.         Plaintiff is filing this case in a representative capacity as the
   N/A
                               of the                      , having been duly appointed

   as the                                                  by the           Court of

                                                                                           .

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      7.   As a result of using talcum powder products, Plaintiff/Decedent suffered

      personal and economic injur(ies) that are alleged to have been caused by the

      use of the products identified in Paragraph 16 below, but not limited to, the

      following:
                       ✔       injury to herself
                       ✔       injury to the person represented

                               wrongful death

                               survivorship action
                       ✔       economic loss
                        ✔      loss of services
                        ✔      loss of consortium
                       ✔       other:     Pain and Suffering




      Identification of Defendants

      8.    Plaintiff(s)/Decedent       Plaintiff(s)    is/are   suing      the    following

      Defendant(s) (please check all that apply)1:

            Ƒ
            ✔      Johnson & Johnson

            Ƒ
            ✔      Johnson & Johnson Consumer Inc.


  1
   If additional Counts and/or Counts directed to other Defendants are alleged by the specific
  Plaintiff(s) as to whom this Short Form Complaint applies, the specific facts supporting these
  allegations must be pleaded by the Plaintiff(s) in a manner complying with the requirements
  of the Federal Rules of Civil Procedure, and the Defendants against whom they are alleged
  must be specifically identified on a separate sheet of paper attached to this Short Form
  Complaint.
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         Ƒ       Imerys Talc America, Inc. (“Imerys Talc”)

         Ƒ       Personal Care Products Council (“PCPC”)

   Additional Defendants:
                                                     LTL Management, LLC,
   Ƒ
   ✔     Other(s) Defendant(s) (please specify):
    Johnson & Johnson Holdco (NA) Inc., Janssen Pharmaceuticals, Inc., Kenvue, Inc.




                            JURISDICTION & VENUE

   Jurisdiction:

   9.    Jurisdiction in this Short Form Complaint is based on:

         Ƒ
         ✔       Diversity of Citizenship

         Ƒ       Other (The basis of any additional ground for jurisdiction must

   be pled in sufficient detail as required by the applicable Federal Rules of Civil

   Procedure).



   Venue:

   10.   District Court(s) and Division (if any) in which venue was proper

   where you might have otherwise filed this Short Form Complaint absent the

   direct filing Order entered by this Court and to where remand could be

   ordered by the Judicial Panel for trial:



   U.S.D.C. - Northern District of Oklahoma
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                               CASE SPECIFIC FACTS

   11.     Plaintiff(s) currently reside(s) in (City, State):
   Bristow, OK                                                                      .

   12.     At the time of the Plaintiff’s/Decedent’s diagnosis with a talcum

   powder product(s) injury, Plaintiff/Decedent resided in (City, State):
    OK                                                                              .

   13.     The Plaintiff/Decedent was diagnosed with a talcum powder

   product(s) injury in (City/State): Tulsa, OK                            on
    2016
                               (date).

   14.     To the best of Plaintiff’s knowledge, Plaintiff/Decedent began using

   talcum powder product(s) on or about the following date: _______________
                                                            1970s


   and continued the use of talcum powder product(s) through about the
                    1980s
   following date: ___________________.

   15.     The Plaintiff/Decedent purchased talcum powder product(s) in the

   following (State(s)): OK                                                         .

   16.     Plaintiff/Decedent used the following talcum powder products:

           Ƒ
           ✔      Johnson & Johnson’s Baby Powder

           Ƒ
           ✔      Shower to Shower




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                                 CAUSES OF ACTION

   17.   Plaintiff(s) hereby adopt(s) and incorporate(s) by reference the Master

   Long Form Complaint and Jury Demand as if fully set forth herein.

   18. The following claims and allegations asserted in the Master Long

   Form Complaint and Jury Demand are herein adopted by reference by

   Plaintiff(s):

          Ƒ        Count I: Products Liability – Strict Liability – Failure to Warn
                   (Against Imerys Talc)

          Ƒ
          ✔        Count II: Products Liability – Strict Liability – Failure to Warn
                   (Against the Johnson & Johnson Defendants)

          Ƒ        Count III: Products Liability – Strict Liability – Defective
                   Manufacturer and Design (Against Imerys Talc)

          Ƒ
          ✔        Count IV: Products Liability – Strict Liability – Defective
                   Manufacturer and Design (Against the Johnson & Johnson
                   Defendants)

         Ƒ
         ✔         Count V: Breach of Express Warranties (Against the Johnson &
                   Johnson Defendants)

          Ƒ
          ✔        Count VI: Breach of Implied Warranty of Merchantability
                   (Against the Johnson & Johnson Defendants)

          Ƒ
          ✔        Count VII: Breach of Implied Warranty of Fitness for a
                   Particular Purpose (Against the Johnson & Johnson Defendants)

          Ƒ        Count VIII: Negligence (Against Imerys Talc)

         Ƒ
         ✔         Count IX: Negligence (Against the Johnson & Johnson
                   Defendants)

          Ƒ        Count X: Negligence (Against PCPC)


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         ✔
         Ƒ      Count XI: Negligent Misrepresentation (Against the Johnson &
                Johnson Defendants)

        Ƒ
        ✔       Count XII: Fraud (Against the Johnson & Johnson Defendants)

         Ƒ      Count XIII: Fraud (Against PCPC)

         Ƒ
         ✔      Count XIV: Violation of State Consumer Protection Laws of

   the State of OK                                 (Against the Johnson &

   Johnson Defendants).

         Ƒ      Count XV: Fraudulent Concealment (Against Imerys Talc)

         Ƒ
         ✔      Count XVI: Fraudulent Concealment (Against the Johnson &
                Johnson Defendants)

         Ƒ      Count XVII: Fraudulent Concealment (Against PCPC)

         Ƒ
         ✔      Count XVIII: Civil Conspiracy (Against All Defendants)

         Ƒ
         ✔      Count XIX: Loss of Consortium (Against All Defendants)

         Ƒ
         ✔      Count XX: Punitive Damages (Against All Defendants)

         ✔
         Ƒ      Count XXI: Discovery Rule and Tolling (Against All
                Defendants)

         Ƒ      Count XXII: Wrongful Death (Against All Defendants)

         Ƒ      Count XXIII: Survival Action (Against All Defendants)

         Ƒ      Furthermore, Plaintiff(s) assert(s) the following additional

   theories and/or State Causes of Action against Defendant(s) identified in

   Paragraph nine (9) above. If Plaintiff(s) includes additional theories of




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   recovery, to the extent they require specificity in pleadings, the specific facts

   and allegations supporting these theories must be pled by Plaintiff(s) in a

   manner complying with the requirements of the Federal Rules of Civil

   Procedure.




         WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against

   Defendants of compensatory damages, punitive damages, interest, costs of

   suit, and such further relief as the Court deems equitable and just, and as set

   forth in the Master Long Form Complaint as appropriate.

                                 JURY DEMAND

         Plaintiff(s) hereby demand a trial by jury as to all claims in this action.


            8/21/2023
   Dated:                                         Respectfully Submitted by,

                                                  /s/ Tayjes M. Shah
                                                  The Miller Firm, LLC
                                                  108 Railroad Avenue
                                                  Orange, Virginia 22960
                                                  (540) 672-4224

                                                  Counsel for Plaintiff(s)



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